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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                    )
In re:                                              )          Chapter 11
                                                    )
SPORTCO HOLDINGS, INC., et al.,1                    )          Case No. 19-11299 (LSS)
                                                    )
                            Debtors.                )          (Jointly Administered)
                                                    )          Re: Docket Nos. 8 & 51

    BRIDGE ORDER AMENDING THE COURT’S INTERIM ORDER (I) AUTHORIZING
      THE DEBTORS TO OBTAIN POSTPETITION FINANCING, (II) AUTHORIZING
       THE DEBTORS TO USE CASH COLLATERAL, (III) GRANTING LIENS AND
          PROVIDING SUPERPRIORITY ADMINISTRATIVE EXPENSE STATUS,
     (IV) GRANTING ADEQUATE PROTECTION TO THE PREPETITION LENDERS,
                (V) MODIFYING AUTOMATIC STAY, (VI) SCHEDULING
             A FINAL HEARING, AND (VII) GRANTING RELATED RELIEF

         Upon the Debtors’ Motion of Debtors for Entry of Interim and Final Orders (I)

Authorizing the Debtors to Obtain Postpetition Financing, (II) Authorizing the Debtors to Use

Cash Collateral, (III) Granting Liens and Providing Superpriority Administrative Expense

Status, (IV) Granting Adequate Protection to the Prepetition Lenders, (V) Modifying the

Automatic Stay, (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief [Docket No.

8] (the “DIP Motion”) and the Interim Order (I) Authorizing the Debtors to Obtain Postpetition

Financing, (II) Authorizing the Debtors to Use Cash Collateral, (III) Granting Liens and

Providing Superpriority Administrative Expense Status, (IV) Granting Adequate Protection to

the Prepetition Lenders, (V) Modifying the Automatic Stay, (VI) Scheduling a Final Hearing, and

(VII) Granting Related Relief [Docket No. 51] entered on June 13, 2019 (the “Interim DIP




1
 The Debtors, together with the last four digits of each Debtor’s federal tax identification number, are: Bonitz
Brothers, Inc. (4441); Ellett Brothers, LLC (7069); Evans Sports, Inc. (2654); Jerry’s Sports, Inc. (4289); Outdoor
Sports Headquarters, Inc. (4548); Quality Boxes, Inc. (0287); Simmons Guns Specialties, Inc. (4364); SportCo
Holdings, Inc. (0355); and United Sporting Companies, Inc. (5758). The location of the Debtors’ corporate
headquarters and the service address for all Debtors is 267 Columbia Ave., Chapin, SC 29036.


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Order”)2; and upon the agreement of the Debtors’ the DIP Agent, the Prepetition Agents, and the

Committee; and upon the record established at the Interim Hearing;

         IT IS HEREBY ORDERED THAT:

         1.        The relief requested in the DIP Motion is GRANTED on the terms set forth in this

order (the “Bridge Order”).

         2.        The Final Hearing to consider entry of the Final Order and final approval of the

DIP Facility and approval of the Debtors’ continued use of Cash Collateral is adjourned to July

29, 2019 at 1:30 PM (ET) (such adjourned date, the “Adjourned Final Hearing”) or such other

date as determined by the Court.

         3.        Notwithstanding Paragraph 11 of the Interim DIP Order, the Debtors are hereby

authorized to continue their use of Cash Collateral for the period from the date of this Bridge

Order through and including the Adjourned Final Hearing (such period, the “Bridge Period”) on

the terms and conditions set forth in the Interim DIP Order, as amended by this Bridge Order.

         4.        The Approved Budget otherwise attached to the Interim DIP Order shall be

replaced with the budget attached hereto as Exhibit 1 (the “Revised Budget”). During the Bridge

Period only, the Revised Budget shall be considered the “Approved Budget” as such term is

defined in the Interim DIP Order.

         5.        Except as otherwise modified by this Bridge Order, the Interim DIP Order shall

remain in full force and effect during the Bridge Period in accordance with its terms.




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 Capitalized terms not otherwise defined herein shall have the meanings ascribed to such terms in the Interim DIP
Order


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         6.        The Court has and will retain jurisdiction to enforce the terms of, any and all

matters arising from or related to the DIP Facility, the Interim DIP Order, and/or this Bridge

Order.




         Dated: July 16th, 2019                       LAURIE SELBER SILVERSTEIN
         Wilmington, Delaware                         UNITED STATES BANKRUPTCY JUDGE
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